DoB:02/09/L961    CR:   17AO18    AGENCY: JCDA


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COURT ADDRESS: 1OO JEFFERSON COUNTY PARKWAY


STATE OE COLORADO


PAULA KAY BULLOCK
DEEENDANT




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                          YilARR;ANT FOR


You are hereby comanded to                                  individual   and
bring that person without                                   th6 County
Court itr and for the County                                 it appearing
                                      ne relating facts sufficient to
                                      of,fenge (es) of:

                                     trol   Sub -Obtain by Fraud (DF4)


                                             Date




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DISTRICT COURT, JEFFERSON COUNTY, COLORADO
Court Address;
100 Jefferson County Parkway, Golden, CO, 80401-6002                NATD   rILED: May 30, 2017 10:47 AM
 The People of the State of Colorado                                CASE   {UMBER: 2017CR1197

 PAULA KAY BULLOCK



                                                                                 A counr usE oNLY A
                                                                           Case Number: 2O17CR1 197
                                                                           Division: W       Courtroom:

                                               Order: Warrant for Arrest

The motion/proposed order attached hereto: PROBABLE CAUSE FOUND.

Probable cause found within affldavit. Bond set at $5,000 c/s.


lssue Date: 513012017



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JEAN WOODFORD
County Court Judge




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       COMBINED COURT, JEFFERSON COTJNTY / GILPIN COI]NTY. COLORADO
       FIRST JIJDICIAL DISTRICT
       STATE OF COLORADO

                                                AFFIDAVIT FOR ARREST WARRANT


       Investigator Joseph Montoya, being duly swom upon oath says:
       That the foregoing offense(s) alleged was committed of this afiiant's own personal knowledge, and the facts stated therein are
       true.

       Your afftant is of lawful age and a sworn peac€ officer of the Firs Judicial District Auomey's Office, Golden, Colorado, in
       the Counties of Jefferson a-nd Gilpin.

       Your affiant states that the following facts are tue and based upon hisher personal knowledge, as            a result of hiMrer
       conversations with the person(s) named herein and reviewing their written reports.

       On 0313012017, your affiant was assigned to follow up on the following Arvada Police case,2016-2516. The following
       information was documented by Office5 Ian Hetrick with the Arvada Police Department during the course of hii
       investigation:

        on   02118/16, at approximately 1450    hour,   Officer    Hetrick was dispatched to 6395 Sheridan Blvd. at walgre€ns
        reference a forgery.


        Upon arriving, Officer Hetsick contacted the reporting party identified as Kimberly Sandquist DOB: 04/1 l/1965. Kimberly is a
        phamacist at walgreens. Kimberly said on 02116/16 a female identified as Paula Bullock DoB; 0ZM)167 came throug[ t]re
        drive through with a written prescription- Kimberly informed Officer Hetrick that Paula is a veterinadan with the Heimosa
        Veterinarian Clinic located at 5495 Federal Blvd. Denver.


        Paula presented a written prescription using a Hermosa veterinarian Clinic prescription pacl. The prescription was datedzns^o
        and was for Max Sigala (unknown DOB) l25l Yuba St. Aurora 80011. The prescription is forMaxs dog "BearBear", a 5 year
        old 74lb Sharpei. The prescription was for nOrycodone l20c! lOmg." The DEA #on the prescription i;BB4259188.

       Kimberly informed Officer Hetick that Paula had come to pick up the prcscription that she \rmte. Kimberly said this is
       unusual and veterinarians and doctors don't usually pick up controlled substanc€ prescriptions for their patients- Wlen
       asked whal else Paul, said, Kimberly then told Officer Hetrick that she was not the pbarmacist rhat hilpecl paula. A
       pharmacist by the name of Lauren Ogden DOB: 06/09D3. Kimberly then said that the prescription was fitled and paula left.


       Kimberly                                                         spoke with Amber Richard DOB: 04/20tr9 who is the manager
       ofthe clin                                                       rmed her that yes Max is a real client- Kimberly then askeJ if
       Max was                                                        for Bear Bear. Amber told her no, Bear Bear was written a
,'.    prescription for tamadol.                               Orycodone for Bear Bear. Kimberly informed Amber that paula yrote
                          then
       the prescription and                                   that their veterinadans do not pick up controlled substance prescriptions
  ''                        K
       for clients. Amber told                                prescription.

  ' Kimberly then told OfEcer Hetrick that lauren came back to the Pharmacy ol02ll8tl6 Paula came back thmugh the drive
 .' through and tried to retum the prescription. Of8cer Hetrick asked Kimberly if she spoke with Paula when she triid to retum
':' the prescription and she said no- She said another employee spoke with her.

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        Officer Hetrick then spoke with another Walgreens Pharmacy employee identified as Lauen Ogden DOB: 06/09/93. Lauren
        said she was the employee who initially spoke   with Paula. Lauren said that Paula came through the drive through in a dark
        colored SUV. Paula dropped offIhe prescription arld was asked to come back later to pick it up. Prula retumed in the same
        SUV. Paula asked ifthe prescription for Max was ready. When Paula told her that it was not ready Paula got angry. Lauren
        said she thought Paula said something about the Vet closing but was not sure. Paula came back approimately 20
        minutes Later and picked up the prescription. Lauren then said that Poula came back on 02/18/16 thrcugh the drive through.
        Lauren said Paula was driving a dark SUV when she came through the drive tfuoryh. Lauren was driving the vehicle a:rd when
        she pulled up to the window she tried to give the prescription of Oxycodone back- Lauen said that no, Wa.lgreens does not
        accept prescriptions back. Paula then left the drive through. Officer Hetrick had the photocbpied ID that Walgreens gave
        him. Officer Hetick asked Lauen ifthe female who dropped offthe prescription matched the ID. Lauren looked at it arld said
        uyes.u



        Officer Hefick then hied to retrieve video footage of Paula coming tkough the drive         though. Officer Hetrick       was
        informed by Walgreens that tlere are no video camcras outside that filmthe drive tbrough.

        Officer Hehick contacted the manager of the Hennosa Veterinarian Clinic, Amber. Amber said her pareds own the clinic
        but she is the malager aad is in bharge of the day to day operations. Amber informed Officer Hehick that she received a
        call from a client, Ma;r, ot02l16ll6 stating thar he had received a cail from Walgrecns thal a prescription for his dog Bear
        Bear, for Orycodone was ready. Amber showed that a prescription for Besr Be3r was written and it was for Tramadol.
        Amber said no prescription for Oxycodone was authorized.

        Amber said she has spoken with Walgrerns and knew that Pauh \+rote the prescription and picked it up. Amber said that
        veterinarians do no pick up prescriptions, and specifically do not pick up contolled substanc€ prescriptions for cliens. Amber
        said this is never done at their clinic.

        Amber then called in Paula on 02117116 and confronted her about the prescription for 120 Oxycodone that was not authorized.
        First Paula told Amber that someone stole her ID card and her credit card. Paula then said that someone mEst have stolen her
        DEA #. Paule then started to say that she was concemed because the DEA was going to "fine her" for this. Amber said she
        has been doing this fora long time and the DEA does not fine people if their ID is stolen. Amber told Pe ula that lhey were
        going to get the police involved in this investigation. Pauls then confessed to Ambff that her ID and credit card were not
        stolen. Paula further said rllEt she wrcte the fake prescription for Bear Bear md picked itup herself.laula again admitted the
        prescription was falsffi ed.


        Amber informed Ofticer Hetick that Paula has since been "relieved of her duties.' Officer Hetrick asked Amber how long
                               [ryC. Amber said Paula is a "winter veterinarian" ald has worked over the winter for ilre HVC for
        Paula has worked for the
        two years.


        Officer Hetrick next asked Amber if the dog Bear Bear has ever been prescribed Oxycodone before. Amber looked up the
        records and said yes, Bear Bear was prescribed 60, 5mg Orycodone tablets on 12103115. Officer Hetrick asked
        Amber if she knew what kind of car Paula drove. Amber said she believes Paula drives a dark colored Dodge Durango.

        OD   02120116 at approximately 1600 hours, Officer Hetrick spoke with a phamacist from Walgreens identified as Lisa
        Wiogate DOB: 1A0511983. Lisa said that she did not have any interaction with Paula but was present when Paula dropped off
        the prescription. Lisa said tlp normal waiting time to fill a prescription that is a controlled substance is approximately 90
        minr-rtes. Lisa then informed Officer Hetrick that Tuesday the l6th was busy and she did not get the prescription filled in
        the 90 minutes and it took her approxirnately 120 minutes to fill it, Lisa said she received a call on the ITth from the
, :ti   Hermosa Veterinarian Clinic asking if they filled a prescription for Orycodone. They then wanted to know who dropped
,IL     offthe prescription and who picked up the filled prescription. Lisa said she senl over Paula's photocopied ID.

        Officer Hetrick was contacted by phone by a male who identified himself as "Richard Tegtneier" a larxyer that has been
        retained by Pauls. Richard advised Officer Hetrick that he was representing Paula. Richard then said rhat he was leaving for
        Sar Francisco and would be back on Tuesday 02/23/16. Officer Hetrick told Richard that he would be back to work on

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          Thursday 0725116. Richard asked that Officer Hetrick call him then and lhey can speak about the case and                 if   Paula will
          participate in an interview.

          Afler several weeks of contact with Richard he finally stated on 03/10/16 that he would be advising his client against
          participafing in an interview. Richard said he and his client would only participate in an interview if il was at t]Ie district
          attomeys office.

          On 03/3l116 al approximately 1300 hous      Officer Hetrick was able to contact Kimberly Sandquist DOB: 04/11165 by
          phone.     Officer Hetrick informed Kimberly that he was told she had some information on this case. Kimberly informed
          Offcer Hetrick that she does not remember the date now but she carne in and there was a prescription laying on the counter.
          Kirnberly said this is strange and usually does not happen. This prescription was written by Paula Bullock. Kimberly then
                                                                                  'was
          said she received a phone call shortly after from Paula asking if there      a problem with the prescription. Kimbedy told her
          thEt she did not   fill   the prescription but she did not think so.


          Paulo then told Kimberly that she wrote the prescription and there was no problem with it. Paula then asked Kimberly ifshe
          needed her DEA# or her license #. Kimberly said this is stange behavior and ttrey do not have doctors or vets calling offering
          this type of information. Kimberly stated "this was really odd."

          Kimberly said that approximately 15 minutes after her phone conversation with Paula, she received acall fiom the manager of
          Paulfl's veterinary clinic. Kimberly did not remember the caller's Dame but said the person identified themselves as the
          manager ofthe clinic ald said they were calling becarse the prescription written by Prule was a fake. They said Paula wrote the
          prescription for herself

          Kimberly then said she went back to work and later that day a pharmacy technician came to Kimberly and said that Peula was in
          the drive tkough trying to re m the prescription to the pharmacy. Kimberly said no, they would not take the narcotics back as
          that is against Colorado Law. Psulo kept the prescription and Ieft the clrive rtrough.

          After reviewing the        case, your a.ftiant detemrined additional   follow up was needed to clarifu information obtained by Officer
          Hetrick.

          On 03/30/2017, your affiant contacted Kimberly Sandquist who is still employed by Walgreens pharmacy. Your affiant
          identified himself as an investigator for the Fi6t Judicial District Attomey's Office. Your affrant advised Kimberly he was
          following up on an incident that occurred on or about 0211612016, with Paula Bullock, Kimberly told your afliant she
          remembers the incident fairly well.

          Your affiant asked Kimberly if she recalls a prescription written by Paula on the counter. Kimberly stated she observed a
          prescdption written and signed by Paula for Orycodone. Kimberly further stated the prescription was on the counter because
          another employee had concems about it Kimberly received a phone call from Paula asking if there was a problem with the
          prescription. Kimberly thought the phone call from Paula was odd. Kimberly told Paula she was not the person who filled
          the prescription. Kimberly could not provide your affiant with ar approximate time/date of her interaction with Paula via
          telephone. Kimberly did not have any additional infomntion to provide-

          On 04/2012017 at approximately 1 100 hrs. your affiant contacted Max Sigala via telephone. Max is the owner of Bear Bear,
          (Shar pei) who the 120 ct. Oxycodone was prescribed to. Your affiant identified himself as an investigator for the First
          Judicial District Attomey's Office. Your aftiant advised Max he was following up on an incident that occurred on or about
'.i   I
          0211612016, withPaula Bullock Max told your affiant he knew exactly what I was talking about.
lr
;l Max told your affiant he was a longtime customer of Hermosa Clinic. Bear Bear, who is owned by Max, has been under the
't cate of Dr. Walter Kurth. Max stated he received a text message from Walgreens pharmacy notiling him of an Oxycodone
    prescription for Bear Bear that was ready for pickup. Max thought it was odd because he usually fills the presc ptions for
    Bear Bear at King Soopers on 6ih and Peoria because he lives in Auror4 CO. Max further stated he was not expecting an
j,l
    Oxycodone prescription for Bear Bear because he already had a supply, and was trying to reduce Bear Bear off of it. Bear
    Bear was, and still is on medication for Lupus, and was prescribed Orycodone for pain Bear Bear was having. Max stated
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       he's never been a fan of giving Oxycodone to Bear Bear, and would only give it as needed. Max further stated that's why he
       still had quite a bit and didn't know why he would have been prescribed more. Max stated he doesn't have any prescriptions
       under his name, and is not a fan of Oxycodone himself.

       After receiving the message from Walgreens, Max couldn't remember if he called, or went to the clinic where he spoke to
       Amber who is a daughter of Dr. Kurth. Amber confirmed that Bear Bear was not to receive a prescription for Oxycodone.
       Max was advised by Amber.that they would pull the file for Bear Bear and secure it in another offrce.

       Your affiant asked Max if he's ever seen Dr. Paula Bullock when he took Bear Bear to Hermosa Clinic. Max said he did not
       know who Dr. Bullock was, and would only see "Dr. K". Your affiant confirmed with Max that "Dr. K" was Walter Kurth.

       Max stated he has an account with Walgreens that would allow him to receive text messages when a prescripfion was
       available for pickup. Max believes because he does not know Dr. Bullock, she was unaware that he would be notified of the
       Oxycodone prescription being dropped offand filled.

       Max did not have any additional information to provide you affiant at this time.

      Based upon the foregoing facts, your affrant submits that there is probable cause to believe that criminal offenses have been
      committed in violation of Colorado law. Your afliant firther submits that there is probable cause to oharge Paula IGy
      Bulloch DOBz 0210911967, 5'10" in height 150 lbs., Brown hair, Brown eyes, with the commission of these offenses. Your
      affiant therefore requests that a warrant be issued for the arrest of Paula Kay Bullock, and that a bail bond amount be set.




      Subscribed and sworn to before me.



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